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                      UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK

 Kane, et al.

                Plaintiffs,

                       vs.                      DECLARATION OF
                                                MARGARET CHU
 De Blasio, et al.
                                                Civil Action No. 1:21-cv-07863
                Defendants.


STATE OF NEW YORK                  )
                                   ) ss.:
COUNTY OF BROOKLYN                 )


   Margaret Chu, declares under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true:

   1. I am Margaret Chu.

   2. I have been teaching at the DOE for two years now and this last position was at a

       new school as an ENL teacher for K-5.

   3. Prior to that I was a Special Education Itinerant Teacher (for over 11 years)

       working with 3, 4 and 5 year olds with learning disabilities in the New York City

       boroughs in private and public DOE schools.

   4. This ENL position that I was recently appointed to is my "Dream Job". I

       have spent my life working on achieving this very position. It took many years to

       complete the TESOL MS. while working full time and managing to study and

       graduate with honors. Taking away my livelihood, my career and a job that I love

       is devastating to me and to my family. It is emotionally taxing, and it is creating a
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   lot of stress and uncertainty in my life and in the lives of my family members, my

   elderly parents who count on my financial support, and also my students.

5. The students in my school depend on their ENL teacher to support them through

   their day. These students are at different levels in their English language

   acquisition. The new ENL language students that do not speak a word of English

   need their ENL teachers to support them and to assist them through classes so

   that they can be successful. During such a chaotic time in everyone's lives, most

   certainly our students and children will suffer the most. This is most certain when

   there are inconsistencies in scheduling and questions on where and why their

   teachers are missing. My school is certainly short staffed already and with this

   covid mandate, my school will suffer from the missing school staff and

   teachers. Our students need experienced, licensed and certified teachers to

   ensure that they are getting the best education possible. Although substitutes are

   necessary, they cannot possibly know our students the way we know our students

   because we have had the time to create bonds with them and their families. Our

   schools. colleagues and coworkers need their teachers, we are a cohesive team

   that makes a school community successful. One spoke, one brick out of place

   creates weakness and instability in all school communities.

6. As a teacher, I am always looking to hone my pedagogy. I maintain a true

   commitment to keep myself abreast of learning different teaching strategies to

   assist my students in acquiring and learning the lessons that will keep them

   successfully engaged and motivated in and out of the classroom.
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7. At the beginning of September, Mayor DeBlasio wrote an executive order stating

   that all DOE teachers would need to be vaccinated or be subjected to weekly

   testing. This quickly changed.

8. We were then ordered to submit to the covid mandate vaccination by September

   20th, 2021. Lawsuits were filed and TRO's were obtained and the vaccination

   mandate was pushed back until September 27th, 2021. It has been pushed back

   again, now we have until Oct 4th, 2021, to be vaccinated.

9. As a new hire, I was asked to submit a religious accommodation and or a

   medical accommodation by the first weekend of September. I was able to submit

   a religious accommodation and had to re-submit it into the SOLAS portal. It

   seemed the DOE was making stuff up as they went along. There wasn't enough

   time to get a cardiologist appointment for my medical accommodation as it

   appears, there is a health care shortage all over NYC. I am still waiting for an

   appointment to see my cardiologist for a medical accommodation as well. I hold

   a sincere religious belief and believe that taking these covid 19 vaccines go against

   my faith. We had very little time to get our religious exemption letters written,

   parish letters written, and any other proof that we had a sincerely held religious

   belief. Jumping through DOE hoops.

10. My religious exemption documentation was submitted and was denied

   immediately. To add to all the confusion, I was locked out of my DOE Outlook

   email and proactively contacted the arbitrator's company to make my own

   appointment. There was no support from the DOE or the UFT. I waited for an

   appeal which I had on Friday, October 1, 2021.
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11. I am still waiting to hear back from the Arbitrator. However, in the meantime I

   will not be able to go to my school on Monday.

12. The appeal: While waiting in the virtual lobby of the Appeal Appointment, I was

   luckier than most because I had support from my attorney. However, I still felt as

   if I had so much to prove. I felt that the appeal was just an appeasement of sorts,

   a way to say, "Well we had an appeal, and we question the validity of her

   religious beliefs". My arbitrator, Mr. Peek, told me that the Pope and the Vatican

   recommended taking the vaccine, "I asked him if I should follow all the bad

   examples of the Catholic Church"? I don't think there is enough time to write

   down all the bad examples that the Vatican has displayed during the history of

   the world. Besides, my relationship with GOD is between me and him. Not the

   Vatican or the Pope. That is the beauty about having a relationship with GOD. It

   is yours alone. There is a difference between God and the Pope. His progressive

   policies do not define my faith. (The Pope is a servant of God, and also a man

   who is both a political influence as well as himself influenced by politics). Man is

   fallible, and religious leaders, even in the Catholic faith have acted against God’s

   will many times. Therefore, my responsibility is to follow the guidance that comes

   from the Holy Spirit and my own moral compass. This is a central tenet of

   Catholicism. Arbitrator Peek refused to accept this, stating that he is not Catholic,

   but he will rely on the Pope over lay people’s interpretation of what God or

   Catholicism requires. I felt like I was at a Salem witch trial, cross-examined

   nonsensically about the validity of my faith, “burned, accused and guilty before

   trial.” The DOE attorney affirmed Arbitrator Peek’s assertions and argued that I

   should be denied for holding beliefs that in their opinion conflict with
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   mainstream doctrine. They ignored my documentation of all the sacraments I

   have received within the Catholic Church, as well as my sponsorship of my three

   younger cousins - two boys and one girl - whose parents entrusted me with the

   honor I take seriously. They also ignored the letter provided by the priest of my

   parish in full support of my religious objections to coerced covid-19 vaccinations.

13. Without relief from this court, I will not be able to teach on Monday and will not

   be able to serve the students that need their education. Some of these students do

   not have consistent and reliable schedules or positive home environments. This

   is an unfortunate reality. The only thing that is constant and reliable is going to

   school and seeing their teachers there every day giving them the positive

   encouragement they need to become functioning productive people in the future.

14. Without relief from this court, too many civil servants will be missing from their

   appointed positions. Our city, our communities, our students and the city will

   suffer and feel the blows of these decisions.




                                                           __________________

                                                           Margaret Chu
